






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-03-00747-CV







In re Miguel Aguilar







ORIGINAL PROCEEDING FROM TRAVIS COUNTY




M E M O R A N D U M   O P I N I O N




		In his petition for writ of mandamus, Miguel Aguilar seeks relief from an order of the
district court compelling him to answer questions at a deposition.  We overrule his motion for
temporary relief and deny his petition for writ of mandamus.



						                                                                                    

						Mack Kidd, Justice

Before Justices Kidd, B. A. Smith and Puryear

Filed:   January 8, 2004


